Case 2:04-Cr-20471-BBD Document 89 Filed 08/03/05 Page 1 of 2 Page|D 91

 

IN THE UNITED STATES DISTRICT COURT FILED BWM D.c'
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U'NI'I'ED STATES OF AMERICA
Plaintiff,
vs. cR. No. 04-20464-D
04-20471-13/

CHARLOTTE CRAWFORD
Defendant.

 

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AND SETTING

 

This cause came to be heard on August l, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Charlotte Crawford, appearing in person and
with counsel, Howard Brett Manis, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered. a plea of guilty to Count l of the
Indictment,04-20464, and Count 1 of the Indictment, 04-20471.

Remaining Counts shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this Case is SET for TU'ESDAY, NOVEMBER 1, 2005, at
1:30 P.M., in Courtroom Nb. 3, on the 9“ floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the -IH{ day of August, 2005.

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UNITED STATES DISTRIC'I' JU'DGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

